Case 2:04-cv-02212-.]DB-dkv Document 28 Filed 06/23/05 Page 1 of 3 Page|D 47

lN THE UNITED sTATEs DISTRICT COURT 'F"£D w ‘pg‘~ U‘C'
FoR THE WESTERN DISTRICT oF TENNESSEEUS JUN 23 PH w q \.

 

WESTERN DIVISION
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C`-LE?~;Z(, 1151 ¢:-‘ iii CT.
Plaintiff,
V. Civil Action No. 04-2212 BV
UNION PLANTERS BANK,
Defendant.

 

STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

 

BEFORE THE COURT is the joint request of Plaintiff, Sheila M. Taylor, and Defendant,
Union Planters Bank, pursuant to Rule 41(a)(l) of the F ederal Rules of Civil Procedure and other
applicable provisions of law, that the Court dismiss this civil action with prejudice, which dismissal
will dispose of all claims by all parties herein

THE COURT FINDS that the request is Well taken, and it is hereby ORDERED that this civil
action is dismissed with prejudice

lt is further ORDERED that each party will bear its own attorney’s fees and litigation

expenses f

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. DA L BREEN "
nite tates District Judge

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Case 2:O4-cv-O2212-.]DB-dkv Document 28 Filed 06/23/05 Page 2 of 3 Page|D 48

APPROVED FOR ENTRY:

   

  

MARSHALL JONES
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Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:04-CV-02212 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

